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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )            CASE NO. CR06-307-RSM
                                          )
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )            DETENTION ORDER
11   TRU QUOC TRUONG,                     )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:        Conspiracy to Distribute Marijuana; Distribution of Marijuana; Forfeiture

15                         Allegations

16 Date of Detention Hearing:     May 6, 2009

17          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

18 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

19 that no condition or combination of conditions which defendant can meet will reasonably assure

20 the appearance of defendant as required and the safety of other persons and the community.

21         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22          1.     Defendant has been charged with a drug offense the maximum penalty of which


     DETENTION ORDER                                                                         15.13
     18 U.S.C. § 3142(i)                                                                  Rev. 1/91
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01 is in excess of ten years. There is therefore a rebuttable presumption against defendant as to both

02 dangerousness and flight risk, under 18 U.S.C. §3142(e).

03          2.      This case was filed in this District in 2006. Aware of the charges, the defendant

04 left this country to go to Vietnam. He returned voluntarily. The defendant has no employment

05 history for the last 10 years. He has a history of some controlled substance use.

06          3.      Taken as a whole, the record does not effectively rebut the presumption that no

07 condition or combination of conditions will reasonably assure the appearance of the defendant

08 as required and the safety of the community.

09 It is therefore ORDERED:

10          (1)     Defendant shall be detained pending trial and committed to the custody of the

11                  Attorney General for confinement in a correction facility separate, to the extent

12                  practicable, from persons awaiting or serving sentences or being held in custody

13                  pending appeal;

14          (2)     Defendant shall be afforded reasonable opportunity for private consultation with

15                  counsel;

16          (3)     On order of a court of the United States or on request of an attorney for the

17                  Government, the person in charge of the corrections facility in which defendant

18                  is confined shall deliver the defendant to a United States Marshal for the purpose

19                  of an appearance in connection with a court proceeding; and

20          (4)     The clerk shall direct copies of this Order to counsel for the United States, to

21                  counsel for the defendant, to the United States Marshal, and to the United States

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     DETENTION ORDER                                                                          15.13
     18 U.S.C. § 3142(i)                                                                   Rev. 1/91
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01               Pretrial Services Officer.

02         DATED this 6th day of May, 2009.



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04                                            Mary Alice Theiler
                                              United States Magistrate Judge
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     DETENTION ORDER                                                                     15.13
     18 U.S.C. § 3142(i)                                                              Rev. 1/91
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